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                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                               CIVIL MINUTES – GENERAL

 Case No. 2:21-cv-9288-FMO-PD                                   Date: July 8, 2022
 Title       Steven H Alcaraz v County of Los Angeles, et al




 Present: The Honorable: Patricia Donahue, United States Magistrate Judge


                 Isabel Martinez                                      N/A
                  Deputy Clerk                              Court Reporter / Recorder

         Attorneys Present for Plaintiff:              Attorneys Present for Defendants:

                    N/A                                              N/A

 Proceedings: (In Chambers) Order to Show Cause Re: Dismissal

        Plaintiff Steven H. Alcaraz, filed a civil rights complaint against
 Defendants former Los Angeles County Sheriff Jim McDonnell, the County of
 Los Angeles, and unknown medical staff/private medical care service
 providers at the Los Angeles County Men’s Central Jail (“MCJ”). [Dkt. No. 1.]
 Plaintiff alleges claims under the First and Eighth Amendments, 42 U.S.C.
 §§ 1983, 1986, and 1988, the California Constitution Article I, § 17, California
 Civil Code § 52.1, and claims for negligence and breach of contract. [Id. at 5.]
 Plaintiff alleges that while he was confined at the MCJ, Defendants acted
 with deliberate indifference to his medical needs and failed to provide him
 with his prescription medication in violation of the Eighth Amendment. [Id.
 at 3, 5.] He also alleges that after he filed a grievance regarding his medical
 care, he suffered retaliation. [Id. at 3, 5.] He seeks compensatory and
 punitive damages, along with declaratory and injunctive relief. [Id. at 12.]

       On May 19, 2022, the Court screened the Complaint pursuant to 28
 U.S.C. § 1915(e)(2)(B) and dismissed the Complaint for: (1) failing to adhere
 to Rule 8 of the Federal Rules of Civil Procedure; (2) failing to state a
 cognizable constitutional claim under 42 U.S.C. § 1983; (3) failing to state a
 claim against former Sheriff McDonnell in his individual capacity; (4) failing
 to state a Monell claim against Defendant County of Los Angeles; (5) failing


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 to state claims against the medical staff/private medical care service
 providers at the MCJ; (6) failing to state claims for negligence and breach of
 contract; and (7) failing to allege sufficient facts against Defendants to state a
 retaliation claim. [Dkt. No. 16.] The Order granted Plaintiff leave to file a
 First Amended Complaint by June 21, 2022. [Id.] The deadline for filing
 Plaintiff’s First Amended Complaint has passed, and Plaintiff has neither
 filed his First Amended Complaint nor communicated with the Court about
 his case since March 28, 2022. [Dkt. No. 13.]
        Pursuant to Rule 41(b) of the Federal Rules of Civil Procedure, an
 action may be subject to involuntary dismissal if a plaintiff “fails to prosecute
 or to comply with these rules or a court order.” Accordingly, the Court could
 properly recommend dismissal of the action for Plaintiff’s failure to timely
 comply with the Court’s May 19, 2022 Order.

      However, in the interests of justice, Plaintiff is ORDERED TO
 SHOW CAUSE on or before July 25, 2022, why the Court should not
 recommend that this action be dismissed for failure to prosecute.

         Plaintiff may discharge this Order by filing:

                (1) a request setting forth good cause for an extension of time to
         file a First Amended Complaint and a declaration signed under penalty
         of perjury, explaining why he failed to comply with the Court’s May 19,
         2022 Order; or
                (2) a First Amended Complaint.

        Alternatively, if Plaintiff does not wish to pursue this action, he may
 file a signed document entitled “Notice of Voluntary Dismissal” pursuant to
 Rule 41(a)(1)(A). The Clerk is directed to provide Plaintiff with a
 Form CV-09 Notice of Dismissal.




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                          UNITED STATES DISTRICT COURT
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                             CIVIL MINUTES – GENERAL

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       Plaintiff is advised that the failure to timely comply with this order
 may result in the dismissal of this case pursuant to Fed. R. Civ. P. 41(b) and
 Local Rule 41-1.

 IT IS SO ORDERED.




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                                                                                im
                                                                         Initials of Preparer




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